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                                            '
                            UNITED STATES DISTRICT COURT
                            SO UTHERN D ISTRICT OF FLOR IDA

                               CaseN o.22-20104-CR -BECE1kM

 UM TED STATES OF AM ERICA,
                                                                    FILED BY tW a            D .C.
 VS.                                       FILED UNDER SEAL
                                                                         Mà8 3 1 2225
  W ALTER VEEMTESELLA.                                                    M GELA E NOBLE
                                                                         CLERKU S Dlsl C::
                                                                         s.o.oFitk.-MIAMI
        Defendant.
                                         /

     REPLY TO UM TED STATES'RESPO NSE TO M ARCH 13.2025 ORDER (DE 985)
        In itsResponsetotheCourt'sOrderofM arch 13,2025(DE 985),theGovernmentasserts
 thatil'l'he new materialin Productions 18-1,
                                            9 and 21amotmtsto 614 pages.''1(DE 985,p.1).'
  Contrary to that represenGtion, m any additional item s, well beyond 614 pages,have been

  identised thatwere notpreviously produced tô Defendantsherein,asdetailed below.lndeed,the

  Discovery Coordinatorherein,RussellM .Aold,hasconfirm ed thattçln total,forProductions 18,

  19,and 21,thereare 1,681filesthatwere consrm ed msnotpreviously produced''See,M arch 27,

  2025Ex-parteDeclaration ofRussellM .Aold,TheCoordinatingDiscoveryAttorney,Describing

  RecentDiscoveryProductions,attachedheretoasExhibitA,!11.
        Upon receiptofProductiom 18,.19 and 21,theundersigned'softlce reviewed the data tb

  determinewhatwmsnew orduplicativeofpriorproductions.Asaresultofthisreview,m anyitem s

  were identified in Productions 18,19 and 21thatappeared to nothave been included in prior

  productions.To confirm thesefindings,undersigned'soft
                                                      k esoughtand obtained contlrmation of

  ihesesndingsw111:thecoordinatingdiscoveryattomeyinthiscase,RussellM .AolciCSM r.Ao1df'),
  whohasalso confirmed that:


  ' Productions 18 and 39 alone span a range of nearly 47,000 pages at 1 5A000424152-
  USA000471033).
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         1.     Production 18 conlnins361 m edia files thatappearto nothave been previously

 produced.1d.at!6.
               a. Those 361 new audio files from Production 18 total 1.51 GB in size.Tlzis

                   determination wasm ade in partby the exam ination ofthe originalfilennmes

                   ofnew mediafiles.f#.

        2. Production 19 contains 1,122 mediafilesthatwerenotpreviously produced.1d.

               a. Those 1,122 new m edia filestotal6.36 GB in size.

        3.     Othernon-m ediam aterialswereproduced withinProductions18 and 19 thatcould

  notbe m atched with a prior bates num ber to detennine whether ornot they were previously

 produced.f#.at!8.
        4.     The totalm aterialsin Productions18 and 19 haveatotaltile size of27.7 GB,and

  consist ofPDFS,Spreadsheets,Powerpoints,text or data fles,GPS data files,and ltsix Sles

  requiringspecificprogrnmstoopen''.fJ.at!4.
               Thenew m edia files in Productions 18 and 19 have anmtim e length of45 hours

  and 16minutes.1d.at!7.
        6.     In total,Productions 18,19 and 21 contain 1,681 filesthatare contirm ed asnot

  havingbeenpreviouslyproduced.f#.at:11.
        7.     Additionally,themajodtyofthePDFdocllmentswithinProductions18,19,and21
  lack theirodginalGlenam esmsidentifying information.W ithoutthatirlfonnation,they cannotbe

  m atched to apdorbatesnllmberto confinu whetherornotthey havebeen previously produced.

  f#.at!11.




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        8.         Production 21 contains ten CSV spreadsheets and 47 Bates-stmmped PDF

 docllm entsthatappearto benew.Thesem aterialstoo appearto benew,asthe discovery database

 trainingattomeywastmabletolocatethesefleswithinpriorproductions.f#.at!10.
        9.         InitsResponse(DE 985)theGovemmentidentifiedtheexactPDFpagerangesthat
 constitutethe4:new''materials.Here,theinverseisalsotnle,thatamongProductions18-21(noting
 the om ission of Productions 17 and 20 and ranges noted ms Rintentionally left blnnk'', the

 tmdersigned calculatesatleast47,000 pagesofduplicative data.

        10.        Am ong that sea of potentially duplicative datw there are photos, and non-tçxt

 searchable items in an array of file extensions,which m akes an estimation for their review

 impossible.

        11.        TheGoverpmenthasrepresented in itsResponsetotheM arch 13,2025 Orderthat

 gbingforward,therewouldbenomoreduplicativeitemsindiscovery.(DE 985,p.4).
 Dated:M arch 31,2025                                 Respectfully submitted,

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                                   CER TV ICATE O F SERW CE
         I DO HEREBY CERTIFY that a tl'uç and correct copy of the foregoing was filed
 conventionally,undersealonM arch31,2025,and servedviaem ailtocounselfortheGovernm ent;
 and to counselforCo-Defendants:Ortiz,Intriago,Solanges,and Sanon.

                                               By:      F-
                                                  Tam a Beth Kudm an
